              Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 1 of 21


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     and KIM FRANKLIN EBERT
14
15                                    UNITED STATES DISTRICT COURT
16                                   NORTHERN DISTRICT OF CALIFORNIA
17
18   DAWN KNEPPER, on behalf of herself and all          Case No. 3:18-CV-00303-WHO
     others similarly situated,                          Case No. 3:18-CV-00304-WHO
19
                                                         DEFENDANTS’ SUPPLEMENTAL
20                      Plaintiff,                       BRIEF IN SUPPORT OF MOTION TO
                                                         TRANSFER VENUE FILED
21                                                       PURSUANT TO DKT. 63
             v.
22
     OGLETREE, DEAKINS, NASH, SMOAK &                    Date:         To be set by the Court
23   STEWART, P.C., CHARLES MATTHEW KEEN,                              (Dkt. 63)
     & KIM FRANKLIN EBERT,                               Time:         To be set by the Court
24                                                       Courtroom: 2, 17th Floor
                                                         Complaint filed: January 12, 2018
25                      Defendants.                      Trial date:   Not yet set
                                                         Judge: Honorable William H. Orrick
26
27
28

     Case No. 3:18-cv-00303-WHO                             DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                           SUPPORT OF MOTION TO TRANSFER VENUE
              Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 2 of 21


 1                                                  TABLE OF CONTENTS
 2                                                                                                                                Page
 3   I.      INTRODUCTION .........................................................................................................1 
 4   II.     KNEPPER ASSENTED TO ARBITRATION BY NOT OPTING OUT OF
             THE MUTUAL ARBITRATION AGREEMENT OGLETREE PRESENTED
 5           TO HER AND BY CONTINUING TO WORK FOR OGLETREE
             THEREAFTER..............................................................................................................2 
 6           A.   Knepper Received Notice of Ogletree’s Opt-Out Arbitration Program.............2 
 7           B.   After Receiving Notice, Knepper Was Reminded—Twice—Of The
                  Opportunity To Opt Out Of The Arbitration Agreement, But She Did
 8                Not Do So. ..........................................................................................................4 
     III.    THE EVIDENCE OF RECORD DEMONSTRATES THE EXISTENCE OF
 9           AN ENFORCEABLE CONTRACT, BUT THE AGREEMENT LAWFULLY
             DELEGATES THE ISSUES OF FORMATION AND ENFORCEABILITY
10           TO THE ARBITRATOR ..............................................................................................5 
11           A.   The Issues Of Formation And Enforceability Are Within The
                  Arbitrator’s Purview. ..........................................................................................5 
12           B.   If The Court Proceeds To Decide The Issue, An Enforceable Agreement
                  Was Formed. ......................................................................................................6 
13                1.     Ogletree has demonstrated the requisite elements for an
14                       agreement—consent and consideration...................................................7 
                         a.      Ogletree and Knepper mutually consented to the
15                               Agreement. ...................................................................................7 
16                       b.      Legal consideration supports the Agreement. ..............................9 
                  2.     The Agreement covers the claims here asserted. ..................................10 
17                3.     The Agreement is not unconscionable. .................................................10 
18                       a.      California’s unconscionability test.............................................10 
19                       b.      The Agreement is not procedurally unconscionable. .................11 
                         c.      The Agreement is not substantively unconscionable. ................12 
20                       d.      The Agreement therefore is enforceable. ...................................13 
21                4.     The class/collective-action waiver is enforceable. ................................14 
22                5.     Absent an appellate ruling to the contrary, the Agreement
                         excludes the PAGA claim from arbitration. ..........................................15 
23   IV.     CONCLUSION ...........................................................................................................15 
24
25
26
27
28
     Case No. 3:18-cv-00303-WHO                                   -i-              DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                                  SUPPORT OF MOTION TO TRANSFER VENUE
                Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 3 of 21


 1                                               TABLE OF AUTHORITIES
 2
                                                                                                                              Page(s)
 3   CASES
 4   Alvarez v. AutoZone, Inc.,
 5      2015 WL 13427751 (C.D. Cal. July 8, 2015) .................................................................... 15

 6   Armendariz v. Found. Health Psychcare Servs., Inc.,
        24 Cal. 4th 83 (2000) ............................................................................................. 11, 12, 13
 7
     AT&T Mobility LLC v. Concepcion,
 8     563 U.S. 333 (2011) ........................................................................................................... 14
 9
     AT&T Techs., Inc. v. Commc’ns Workers of Am.,
10     475 U.S. 643 (1986) ............................................................................................................. 5
11   Berkley v. Dillard’s Inc.,
        450 F.3d 775 (8th Cir. 2006) ............................................................................................... 9
12
13   Bolter v. Superior Court,
        87 Cal. App. 4th 900 (2001) .............................................................................................. 15
14
     Brennan v. Opus Bank,
15      796 F.3d 1125 (9th Cir. 2015) ............................................................................................. 5
16
     Castro v. Macy’s, Inc.,
17      2017 WL 344978 (N.D. Cal. Jan. 24, 2017) ........................................................................ 9
18   Catamaran Corp. v. Towncrest Pharmacy,
        864 F.3d 966 (8th Cir. 2017) ............................................................................................. 14
19
20   Chesapeake Appalachia, LLC v. Scout Petroleum, LLC,
       809 F.3d 746 (3d Cir. 2016)............................................................................................... 14
21
     Chiron Corp. v. Ortho Diagnostic Sys., Inc.,
22      207 F.3d 1126 (9th Cir. 2000) ............................................................................................. 7
23
     Circuit City Stores, Inc. v. Ahmed,
24      283 F.3d 1198 (9th Cir. 2002) ....................................................................................... 7, 11
25   Circuit City Stores, Inc. v. Najd,
        294 F.3d 1104 (9th Cir. 2002) ........................................................................... 7, 10, 11, 12
26
27   Cruise v. Kroger Co.,
        233 Cal. App. 4th 390 (2015) .............................................................................................. 7
28
     Case No. 3:18-cv-00303-WHO                                   -ii-              DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                                   SUPPORT OF MOTION TO TRANSFER VENUE
                Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 4 of 21


 1   Davis v. Nordstrom, Inc.,
 2     755 F.3d 1089 (9th Cir. 2014) ....................................................................................... 7, 10

 3   Dean Witter Reynolds, Inc. v. Byrd,
       470 U.S. 213 (1985) ........................................................................................................... 10
 4
 5   DIRECTV, Inc. v. Imburgia,
        577 U.S. ___, 136 S. Ct. 463 (2015) .................................................................................... 7
 6
     Dixon v. Synchrony Fin.,
 7      2015 WL 12720290 (N.D. Ga. Aug. 18, 2015) ................................................................... 9
 8   Dotson v. Amgen, Inc.,
 9      181 Cal. App. 4th 975 (2010) ........................................................................................ 9, 13

10   Epic Sys. Corp. v. Lewis,
        138 S. Ct. 1612 (2018) ....................................................................................................... 14
11
     Ferguson v. Countrywide Credit Indus., Inc.,
12
        298 F.3d 778 (9th Cir. 2002) ............................................................................................... 7
13
     Gorlach v. Sports Club Co.,
14     209 Cal. App. 4th 1497 (2012) ............................................................................................ 8
15   Graham v. Scissor-Tail, Inc.,
16      28 Cal. 3d 807 (1981) ........................................................................................................ 10

17   Hick’s v. Macy’s Department Stores, Inc.,
        2006 WL 2595941 (N.D. Cal. Sept. 11, 2006) ................................................................ 8, 9
18
     Iskanian v. CLS Transp. L.A., LLC,
19
        59 Cal. 4th 348 (2014) ................................................................................................. 14, 15
20
     Johnmohammadi v. Bloomingdale’s, Inc.,
21      755 F.3d 1072 (9th Cir. 2014) ............................................................................................. 8
22   Kilgore v. KeyBank, N.A.,
23      718 F.3d 1052 (9th Cir. 2013) ....................................................................................... 7, 12

24   Little v. Auto Stiegler, Inc.,
         29 Cal. 4th 1064 (2003) ..................................................................................................... 13
25
     Madden v. Kaiser Found. Hosps.,
26
       17 Cal. 3d 699 (1976) ........................................................................................................ 12
27
     Mohamed v. Uber Technologies, Inc.,
28     848 F.3d 1201 (9th Cir. 2016) ................................................................................... 6, 8, 12
     Case No. 3:18-cv-00303-WHO                                  -iii-             DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                                  SUPPORT OF MOTION TO TRANSFER VENUE
                 Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 5 of 21


 1   Morris v. Redwood Empire Bancorp,
 2     128 Cal. App. 4th 1305 (2005) .......................................................................................... 13

 3   Oguejiofor v. Nissan,
       2011 U.S. Dist. LEXIS 99180 (N.D. Cal. Sept. 2, 2011) .................................................... 10
 4
 5   Pinnacle Museum Tower Ass’n v. Pinnacle Mkt. Dev. (US), LLC,
        55 Cal. 4th 223 (2012) ....................................................................................................... 10
 6
     Rent-A-Center, W., Inc. v. Jackson,
 7      561 U.S. 63 (2010) ............................................................................................................... 5
 8   Roman v. Superior Court,
 9     172 Cal. App. 4th 1462 (2009) .......................................................................................... 15

10   Rosenthal v. Great W. Fin. Sec. Corp.,
        14 Cal. 4th 394 (1996) ....................................................................................................... 10
11
     Sakkab v. Luxottica Retail N. Am., Inc.,
12
        803 F.3d 425 (9th Cir. 2015) ....................................................................................... 14, 15
13
     Serpa v. Cal. Sur. Investigations, Inc.,
14      215 Cal. App. 4th 695 (2013) ............................................................................................ 14
15   Sonic-Calabasas A, Inc. v. Moreno,
16      57 Cal. 4th 1109 (2013) ..................................................................................................... 11

17   Strotz v. Dean Witter Reynolds, Inc.,
        223 Cal. App. 3d 208 (1990) ............................................................................................. 10
18
     Tinder v. Pinkerton Sec.,
19
        305 F.3d 728 (7th Cir. 2002) ............................................................................................... 7
20
     United States ex rel. Oliver v. Parsons Co.,
21      195 F.3d 457 (9th Cir. 1999) ............................................................................................... 7
22   Varela v. Lamps Plus, Inc.,
23      701 F. App’x 670 (9th Cir. 2017) ...................................................................................... 14

24   STATUTES
25   9 U.S.C.
        § 1 ....................................................................................................................................... 10
26
        § 2 ................................................................................................................................... 7, 15
27      § 3 ............................................................................................................................. 7, 12, 15
28   28 U.S.C. § 1391(b) ................................................................................................................... 1
     Case No. 3:18-cv-00303-WHO                                         -iv-               DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                                          SUPPORT OF MOTION TO TRANSFER VENUE
                Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 6 of 21


 1   CAL. CIV. CODE § 1550 ............................................................................................................. 7
 2
     CAL. LAB. CODE § 2698........................................................................................................... 15
 3
     FEDERAL ARBITRATION ACT
 4      9 U.S.C. § 1 et seq. ......................................................................................................... 4, 14
 5      9 U.S.C. § 4 ............................................................................................................ 1, 3, 7, 14

 6   OTHER AUTHORITIES

 7   https://www.adr.org/sites/default/files/EmploymentRules_Web.pdf...................................... 12
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Case No. 3:18-cv-00303-WHO                                     -v-              DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                                    SUPPORT OF MOTION TO TRANSFER VENUE
              Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 7 of 21


 1   I.      INTRODUCTION
 2           Defendant Ogletree, Deakins, Nash, Smoak & Stewart, P.C. demonstrated that the interest of
 3   justice is significantly better served by transferring this case to the Central District, Southern Division
 4   (Orange County), where Plaintiff Dawn Knepper last worked and a significant number of witnesses
 5   reside. Ogletree further showed that because the Mutual Arbitration Agreement (“Agreement”) to
 6   which Knepper and Ogletree are parties requires arbitration in or near Orange County, the Central
 7   District is the appropriate court for Defendants’ petition to compel arbitration under this Circuit’s
 8   interpretation of the Federal Arbitration Act, 9 U.S.C. ¶ 4 (“FAA”). See Dkt. 28 and 36.
 9           Knepper’s proposed Second Amended Complaint (Dkt. 52) does not change the analysis.
10   Therein she attempts to add four plaintiffs and three defendants who never worked in this District.
11   The only other proposed California Plaintiff is former equity shareholder Tracy Warren, who also
12   was assigned to Ogletree’s Orange County office (while maintaining a physical presence in San
13   Diego). Warren and all other equity shareholders are signatories to the Shareholder Management
14   Agreement (“SMA”) and its arbitration article that requires arbitration of her claims in Southern
15   California. See Dkt. 56 (Straky Decl.) ¶ 3.i; Dkt.59-1 (Gicking Decl.) ¶ 2, Exh. A, pg. 32, § 9.04.
16   Three proposed non-California plaintiffs seek to join only claims for breach of fiduciary duty and
17   violation of the Equal Pay Act, but they cannot tether themselves in California to two plaintiffs who
18   cannot litigate those claims in a court because venue for the non-California plaintiffs on their claims
19   lies in Texas or Colorado. See 28 U.S.C. section 1391(b) (venue proper in a judicial district in which
20   a substantial part of the events or omissions giving rise to the claim occurred). See Dkt. 59, at 1:9 –
21   2:28 and 7:1 – 8:17.
22           In response to the Court’s request, this supplemental brief, demonstrating that an Agreement
23   was formed between Knepper and Defendants to arbitrate her claims, is submitted without waiving
24   Defendants’ rights (i) to compel arbitration in the Central District in accordance with the Federal
25   Arbitration Act (“FAA”), 9 U.S.C. § 4 (hearing “shall be within the district in which the petition . . .
26   is filed”), and (ii) to preserve Defendants’ argument that the Agreement delegates the issues of
27   formation and enforceability to the arbitrator.
28
     Case No. 3:18-cv-00303-WHO                        -1-          DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                   SUPPORT OF MOTION TO TRANSFER VENUE
                Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 8 of 21


 1   II.       KNEPPER ASSENTED TO ARBITRATION BY NOT OPTING OUT OF THE
 2             MUTUAL ARBITRATION AGREEMENT OGLETREE PRESENTED TO HER AND
 3             BY CONTINUING TO WORK FOR OGLETREE THEREAFTER
 4             A.      Knepper Received Notice of Ogletree’s Opt-Out Arbitration Program.
 5             Knepper has practiced law for nearly 18 years, 13 as an employment-law litigator at Ogletree.
 6   1st Am. Compl. (Dkt. 33) ¶¶ 62-63, 67-68, 96, 98.
 7             On January 15, 2016, Ogletree sent a notice to Knepper, all non-equity shareholders, all other
 8   attorneys (other than equity shareholders covered by their SMA) and all staff at their Firm e-mail
 9   addresses. The notice explained and attached two documents: (1) Ogletree’s Open Door Policy and (2)
10   a Mutual Arbitration Agreement (“Agreement”). Dkt. 28-2 (Straky Decl.) ¶ 4, Exhs. A-C; Dkt. 28-1
11   (Berger Decl.) ¶ 3, Exh. A. The notice and attached Open Door Policy (which was “effect[ive]
12   immediately”) explained that, in the event a dispute could not be resolved internally, Ogletree’s
13   arbitration program would apply to any future claims recipients might bring against Ogletree and/or any
14   of its “shareholders, directors, employees, or agents” (or that Ogletree might bring against any of them),
15   if they: (1) continued to work for Ogletree, and (2) did not opt out of the program within six weeks (that
16   is, by March 1, 2016). The notice itself summarized the key provisions of the Agreement as follows:
17            Both you and the Firm are agreeing to the arbitration of any disputes (with certain limited
               exceptions) before a neutral arbitrator.1 This means that both parties agree to waive their right to a
18             trial in a court before either a judge or a jury.
              The arbitration will be administered by the American Arbitration Association, a respected national
19             provider of dispute-resolution services.
              The arbitrator has the same authority as a judge would have to award relief to individual claimants
20             based on applicable laws and regulations.
              It is a mutual agreement, and it is a binding contract.
21            Ogletree Deakins pays the costs of the arbitrator and the arbitration agency in excess of whatever
               the filing fee for filing a case in court would have been.
22            Each party would pay his/her/its own attorney’s fees, though the arbitrator would have the same
               right as a judge to award costs and fees to the prevailing party.
23
     Dkt. 28-2 (Straky Decl.) ¶ 5, Exh. A, pgs. 1-2. The notice further explained that the “attached Mutual
24
     1
25    The first section of the Agreement provides: “Mutual Agreement to Arbitrate. Except as provided
     below, the Parties agree that all disputes between them, including without limitation those relating to
26   employment with the Firm or separation therefrom (and also including claims against any of the
     Firm’s . . . shareholders, directors, employees, or agents and against any alleged joint employers)
27   shall be determined exclusively by final and binding arbitration before a single, neutral arbitrator as
     described herein.” Dkt. 28-2 (Straky Decl.) ¶ 4, Exh. C, pg.1, § 1 (emphasis added).
28
     Case No. 3:18-cv-00303-WHO                           -2-           DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                       SUPPORT OF MOTION TO TRANSFER VENUE
                Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 9 of 21


 1   Arbitration Agreement is an important legal document and [the recipient] may wish to seek guidance
 2   from private legal counsel.” Id. at pg. 2. It also informed recipients that Ogletree’s Director of
 3   Human Resources would be available to answer any questions about the Agreement. Id.
 4             Recipients saw in three separate places that they would be bound by the Agreement if they did
 5   not follow the opt-out instructions. First, the notice stated:
 6             You have the right to opt out of the arbitration program if you wish. To do so, you must sign
               an Opt-Out form and return it to Kay Straky, the Firm’s Director of Human Resources via
 7             email to Kay.Straky@ogletreedeakins.com, on or before March 1, 2016. The Opt-Out form is
               available under the “Resources” tab on the OD Connect homepage of the Firm’s Human
 8             Resources Department. If you do not return an Opt-Out form by March 1, 2016 and remain
               employed by the Firm after that date, you will be deemed to have accepted the terms of the
 9             Agreement.
10   Id. (emphasis added).
11             Second, the Agreement itself restated the instructions for opting out and repeated that failure
12   to do so by March 1, 2016, and continuing to work, constituted acceptance of the Agreement:
13             11. Opt Out. Individual may opt out of this Agreement by delivering a completed and signed
               Opt-Out Form to the Director of Human Resources on or before March 1, 2016. Opt-Out
14             Forms and instructions on how to return them are available on the OD Connect home page of
               the Human Resources Department, under the “Resources” tab. Failure to deliver an executed
15             Opt-Out Form on or before March 1, 2016, and continued employment with the Firm after
               that date, shall be deemed acceptance of the terms of this Agreement.
16
17   Id., Exh. C, pg. 2, ¶ 11 (emphasis added).
18             Third, the Open Door Policy informed employees that the Agreement “is a separate and binding
19   contract between the Firm and all employees who have not elected to opt out of it during the
20   applicable opt-out period.” Id., Exh. B (emphasis added).
21             Recipients were requested to acknowledge their understanding of the above. The cover e-mail
22   stated:
23             Please sign and return a copy of the Mutual Arbitration Agreement to your Office
               Administrator. Signing the Agreement signifies that you understand you have the option to
24             opt out and that if you do not opt out on or before March 1, 2016 you will be deemed to
               have accepted the Agreement.
25
26   Id., Exh. A, pg. 2 (emphasis in original). The Agreement further stated:
27             Special Note: This Agreement is an important document that affects your legal rights. You
               should familiarize yourself with it. By signing below, you acknowledge that you understand
28             you have the option to opt out of this Agreement by returning an Opt Out form to the Director
     Case No. 3:18-cv-00303-WHO                        -3-           DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                    SUPPORT OF MOTION TO TRANSFER VENUE
             Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 10 of 21


 1           of Human Resources on or before March 1, 2016 and that failure to return an Opt Out form
             and remaining in the employment of the Firm after that date will be deemed an acceptance of
 2           this Agreement.
 3   Id., Exh. C., pg. 2 (emphasis in original).
 4           The Agreement specifically acknowledges that it “is made in the course of interstate
 5   commerce [and] that any arbitration under this Agreement is governed by the Federal Arbitration Act,
 6   9 U.S.C. § 1 et seq.” Dkt 28-2 (Straky Decl.), Exh. C, pg. 2, § 9.
 7           B.     After Receiving Notice, Knepper Was Reminded—Twice—Of The Opportunity
 8                  To Opt Out Of The Arbitration Agreement, But She Did Not Do So.
 9           Knepper claims that she did not know Ogletree had sent her an arbitration agreement. Case
10   No. 3:18-CV-00304-WHO, Dkt. 1, ¶ 32. Irrefutable evidence proves otherwise.
11           Knepper’s email account at the time (“Dawn.Knepper@ogletreedeakins.com”) received the
12   notice and attachments on January 15, 2016, at 4:47 a.m. Dkt. 28-1 (Berger Decl.) ¶¶ 3-6, Exh. B; Dkt.
13   28-2 (Straky Decl.) ¶ 4. The “read receipt” message from Knepper’s email account shows it was opened
14   that day, at 6:32 a.m. Dkt. 28-1 (Berger Decl.) ¶ 6, Exh. C.
15           On January 27, 2016, Vicki Myers, the Office Administrator for the Orange County office,
16   forwarded the January 15, 2016 email and attachments (Straky Decl. Exhibits A-C) to all original
17   recipients in that office (including Knepper). The email, entitled “Mutual Arbitration Agreement,” stated:
18           If you haven’t already done so, please sign and return a copy of the Mutual Arbitration
             Agreement to me as soon as possible. Also, please print your name under your signature to
19           ensure that HR files your document in the correct HR file. As indicated below: Signing the
             Agreement signifies that you understand you have the option to opt out and that if you do not
20           opt out on or before March 1, 2016 you will be deemed to have accepted the Agreement. You
             have the right to opt out of the arbitration program if you wish. To do so, please read the
21           instructions in the email below.
22   Dkt. 28-3 (Myers Decl.) ¶ 4, Exh. A (emphasis added). This was the fourth notification Knepper
23   received advising her she would be bound by the Agreement unless she opted out.
24           On March 1, 2016 at 3:41 p.m., Myers sent still another email, entitled “FW: Mutual
25   Arbitration Agreement,” containing the same text and attachments, adding a reminder that the signed
26   acknowledgements of understanding should be sent in that day. Dkt. 28-3 (Myers Decl.) ¶ 5, Exh. B.
27   This was the fifth notification Knepper received. Within five minutes of issuance of the March 1
28   reminder, Knepper responded to Myers’ email, stating, “I will turn mine in tomorrow.” Dkt. 28-3
     Case No. 3:18-cv-00303-WHO                       -4-             DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                     SUPPORT OF MOTION TO TRANSFER VENUE
             Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 11 of 21


 1   (Myers Decl.) ¶ 6, Exh. C; Dkt. 28-1 (Berger Decl.) ¶ 9, Exh. F. On July 11, 2017—more than a year
 2   after she first received the Arbitration Agreement and more than six months before she filed these
 3   related actions—Knepper forwarded a copy of the original email, the Arbitration Agreement, and the
 4   other attachment to her personal email account: dmknepper@gmail.com. Dkt. 28-1 (Berger Decl.)
 5   ¶ 10, Exh. G.
 6           Knepper falsely contends, contrary to documented facts and her own email, that she had “no
 7   knowledge of [the Agreement’s] existence until well after the deadline the Firm gave to opt out.”
 8   Case No. 3:18-cv-00304, Dkt. 1, at 5:8-10. Her position forecloses any contention she timely opted
 9   out.
10   III.    THE EVIDENCE OF RECORD DEMONSTRATES THE EXISTENCE OF AN
11           ENFORCEABLE CONTRACT, BUT THE AGREEMENT LAWFULLY DELEGATES
12           THE ISSUES OF FORMATION AND ENFORCEABILITY TO THE ARBITRATOR
13           A.      The Issues Of Formation And Enforceability Are Within The Arbitrator’s
14                   Purview.
15           Even gateway issues may be delegated to the arbitrator where “the parties clearly and
16   unmistakably [so] provide.” Brennan v. Opus Bank, 796 F.3d 1125, 1130 (9th Cir. 2015) (citing
17   AT&T Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 649 (1986)); accord Rent-A-Center,
18   W., Inc. v. Jackson, 561 U.S. 63, 79 (2010) (where an agreement contains a clear and unmistakable”
19   delegation provision and plaintiff alleges the entire agreement is invalid, the arbitrator shall decide
20   the issues, except where plaintiff challenges the delegation provision itself).
21           The Agreement here expressly delegated to the arbitrator all enforceability issues except the
22   enforceability of the provision (discussed below) waiving participation in class and collective actions.
23   The Agreement provides:
24           Section 6: Authority of the Arbitrator. Except as provided below, the arbitrator shall have
             the authority to resolve any dispute relating to the interpretation, applicability, enforceability,
25           or formation of this Agreement, including without limitation any claim that the Agreement is
             void or voidable. The arbitrator shall not have the authority to hear disputes not recognized
26           by existing law and shall dismiss such claims upon motion by either Party in accordance with
             the standards and burdens generally applicable in federal district court.
27
             Because this Agreement is intended to resolve the particular dispute as quickly as possible, the
28           arbitrator shall not have the authority to consolidate the claims of other individuals into a
     Case No. 3:18-cv-00303-WHO                       -5-           DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                   SUPPORT OF MOTION TO TRANSFER VENUE
             Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 12 of 21


 1           single proceeding, to fashion a proceeding as a class, collective action, or representative
             action, or to award relief to a class or group of claimants. Notwithstanding anything herein or
 2           in AAA’s rules to the contrary, any dispute relating to the interpretation, applicability, or
             enforceability, of this paragraph shall be resolved by a court only and shall not be within the
 3           power of the arbitrator to resolve.
 4   Dkt. 28-2 (Straky Decl.) Exh. C, Section 6, at pgs. 1-2 (emphasis added).

 5           The delegation clause here is valid and fully enforceable. The Ninth Circuit’s decision in

 6   Mohamed v. Uber Technologies, Inc., 848 F.3d 1201 (9th Cir. 2016) is controlling. Uber’s arbitration

 7   agreement, like the Agreement here, delegated to the arbitrator all arbitrability challenges, except for

 8   challenges to the waiver of class and collective actions.2 Just as Knepper argues in her RDJ (¶¶ 46-

 9   47), the district court in Mohamed found the delegation to the arbitrator was inconsistent with the

10   carve-out provision for representative claims. Id. at 1209. The Ninth Circuit disagreed:

11           These conflicts are artificial. The clause describing the scope of the arbitration provision was
             prefaced with “[e]xcept as it otherwise provides,” which eliminated the inconsistency
12           between the general delegation provision and the specific carve-out . . . .
13   Id. (emphasis added). In sum, the Ninth Circuit found that the delegation language constituted a

14   lawful “clear and unmistakable” delegation to the arbitrator of most enforceability issues. Id.

15           The same result must follow here. The Agreement before this Court does exactly what Uber’s

16   agreement did: delegate all formation and enforceability issues to the arbitrator, except those

17   pertaining to the waiver of any right to participate in class and collective actions. Knepper assented

18   to the Agreement and its delegation clause by failing to opt out.

19           B.     If The Court Proceeds To Decide The Issue, An Enforceable Agreement Was

20                  Formed.

21           Defendants brief the following issues in response to the Court’s request, without waiving their

22   position that formation and enforceability issues are reserved for an arbitrator, the case should be

23   transferred to the Central District, and they should have the opportunity to file in that District their

24   petition for an order compelling arbitration in Orange County consistent with the Parties’ Agreement.

25
     2
       Uber’s agreement assigned to the arbitrator “disputes arising out of or relating to interpretation or
26   application of this Arbitration Provision, including the enforceability, revocability or validity of the
     Arbitration Provision or any portion of the Arbitration Provision.” 848 F.3d at 1208. It preserved
27   for the court “any claim that all or part of the Class Action Waiver, Collective Action Waiver or
     Private Attorney General Waiver is invalid, unenforceable, unconscionable, void or voidable.” Id.
28
     Case No. 3:18-cv-00303-WHO                        -6-           DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                    SUPPORT OF MOTION TO TRANSFER VENUE
             Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 13 of 21


 1                  1.      Ogletree has demonstrated the requisite elements for an agreement—
 2                          consent and consideration.
 3           When determining whether a valid contract to arbitrate exists, a federal court applies ordinary
 4   state-law principles that govern contract formation. DIRECTV, Inc. v. Imburgia, 577 U.S. ___, 136
 5   S. Ct. 463, 473 (2015) (reversing a California state court that had failed to do so); see also Davis v.
 6   Nordstrom, Inc., 755 F.3d 1089, 1093 (9th Cir. 2014) (citing Ferguson v. Countrywide Credit Indus.,
 7   Inc., 298 F.3d 778, 782 (9th Cir. 2002)). Arbitration agreements are presumed to be valid; the party
 8   seeking to avoid arbitration bears the burden of demonstrating otherwise. See, e.g., Chiron Corp. v.
 9   Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000).
10           Under California law, a contract requires (1) the parties’ consent and (2) consideration. CAL.
11   CIV. CODE § 1550; United States ex rel. Oliver v. Parsons Co., 195 F.3d 457, 462 (9th Cir. 1999).
12   Both of these prerequisites are met here.
13                          a.      Ogletree and Knepper mutually consented to the Agreement.
14           Ogletree demonstrated its consent by presenting the Agreement to Knepper, using Ogletree’s
15   resources and e-mail accounts, and by stating in the Agreement Ogletree’s intent to be bound thereby.
16   See, e.g., Cruise v. Kroger Co., 233 Cal. App. 4th 390, 397-99 (2015) (employer was bound where
17   arbitration agreement was on company letterhead and contained language agreeing to mandatory final and
18   binding arbitration); Circuit City Stores, Inc. v. Najd, 294 F.3d 1104, 1108 (9th Cir. 2002) (employer was
19   bound to arbitration based on an arbitration agreement it prepared and presented).
20           The FAA requires only a “written provision” to arbitrate, not a signature. 9 U.S.C. § 2; Tinder
21   v. Pinkerton Sec., 305 F.3d 728, 736 (7th Cir. 2002) (“Although § 3 of the FAA requires arbitration
22   agreements to be written, it does not require them to be signed.”). The Ninth Circuit repeatedly has
23   held that, by not opting out of an arbitration program, employees manifest their assent to be bound,
24   even without the employee’s signature. Circuit City Stores, Inc. v. Ahmed, 283 F.3d 1198, 1199 (9th
25   Cir. 2002) (plaintiff did not opt out, so he thereby became bound).3 Knepper demonstrated her intent to
26
     3
       See also Circuit City Stores, Inc. v. Najd, 294 F.3d 1104, 1109 (9th Cir. 2002) (same); Kilgore v.
27   KeyBank, N.A., 718 F.3d 1052, 1059 (9th Cir. 2013) (en banc) (citing Ahmed; the loan agreement at
     issue was enforceable because borrowers did not have to accept it and had a right to opt out);
28                                                                                          (Continued . . . )
     Case No. 3:18-cv-00303-WHO                       -7-           DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                   SUPPORT OF MOTION TO TRANSFER VENUE
             Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 14 of 21


 1   be bound by remaining employed and not opting out by the March 1, 2016 deadline.
 2           Knepper’s contention that she did not sign the acknowledgement of receipt does not help her.
 3   Ogletree asked recipients to sign to confirm receipt. Continuing to work (without opting out) is the
 4   manifestation of assent (as the cases above teach); no signature was necessary.
 5           The absence of a signature would have significance if the signature were necessary to accept
 6   the offered agreement. See, e.g., Gorlach v. Sports Club Co., 209 Cal. App. 4th 1497, 1507-11
 7   (2012) (employer sought a signature as the manifestation of assent; there was no agreement because
 8   the plaintiff chose not to sign). Unlike the employer in Gorlach, Ogletree did not seek signatures as
 9   the manifestation of consent, instead utilizing the routinely accepted opt-out approach to forming
10   arbitration agreements without need for signature. With respect to Knepper, Ogletree has proven
11   receipt without the signature, through the documentary proof above, including Knepper’s own e-mail
12   acknowledging receipt of Myers’ email entitled “FW: Mutual Arbitration Agreement”:
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21           Cases show that Ogletree’s implementation of the Agreement was sound. Courts regularly
22   find an arbitration agreement binding even where an unsophisticated employee-plaintiff had not
23   signed the form acknowledging receipt of an opt-out provision. For example, in Hick’s v. Macy’s
24   Department Stores, Inc., 2006 WL 2595941 (N.D. Cal. Sept. 11, 2006), the court found the plaintiff
25
26   Mohamed v. Uber Techs., Inc., 848 F.3d 1201, 1210 (9th Cir. 2016) (“the existence of a meaningful
     right to opt-out” produces an enforceable agreement) (citation and internal quotation marks omitted);
27   Johnmohammadi v. Bloomingdale’s, Inc., 755 F.3d 1072, 1074 (9th Cir. 2014) (“By not opting out
     within the 30 day period, [plaintiff] became bound by the terms of the arbitration agreement.”).
28
     Case No. 3:18-cv-00303-WHO                     -8-           DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                 SUPPORT OF MOTION TO TRANSFER VENUE
             Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 15 of 21


 1   had agreed to the agreement because (1) he had a reasonable amount of time to decide whether to opt
 2   out; (2) the documents mailed to him clearly set forth the consequences of not opting out; and (3) he
 3   was told that his employment would not be affected by a decision to opt out. Id. at *2. Plaintiff
 4   argued that he had not signed to acknowledge receipt, but the court found the employer had proved
 5   receipt in other ways. Id. The court noted that “[t]he adequacy of Macy’s notice is further
 6   demonstrated by the ten percent of employees who received the same material as plaintiff and did opt
 7   out.” Id. Ogletree will present similar evidence of its opt-out rate when it files its petition to compel
 8   arbitration.
 9           Last year, Castro v. Macy’s, Inc., 2017 WL 344978 (N.D. Cal. Jan. 24, 2017), reached the
10   same conclusion, stating:
11           Castro’s argument that her failure to sign an acknowledgment form renders the arbitration
             agreement invalid with regards to her civil rights claims is misguided. . . . The circumstances
12           here permit the Court to find that Castro knowingly agreed to an arbitration policy that
             provided Castro a clear choice — submit the Opt Out Form or waive the right to a judicial
13           forum for civil rights claims.

14   Id. at *4.4

15           As a seasoned employment attorney, Knepper cannot credibly argue that she did not

16   understand the Agreement or its opt-out instructions. See, e.g., Dotson v. Amgen, Inc., 181 Cal. App.

17   4th 975, 981 (2010) (granting motion to compel arbitration, noting that the plaintiff “is not an

18   uneducated, low-wage employee without the ability to understand that he was agreeing to arbitration.

19   He was the opposite, a highly educated attorney . . . .”).

20                          b.      Legal consideration supports the Agreement.

21           Ogletree, too, was bound to arbitrate any claims it might have had against Knepper. The

22   4
       See also, e.g., Berkley v. Dillard’s Inc., 450 F.3d 775, 777 (8th Cir. 2006) (affirming order
23   compelling arbitration where plaintiff refused to sign a form containing a signature line above which
     it stated that employees were deemed to have agreed to arbitration program rules by accepting or
24   continuing employment); Dixon v. Synchrony Fin., 2015 WL 12720290, at *2-3, *5 (N.D. Ga. Aug.
     18, 2015) (granting motion to compel arbitration where employee refused to sign acknowledgement
25   of receipt of information regarding arbitration program; “Plaintiff was informed of the manner by
26   which an employee accepted the terms of the Solutions procedure, that is, continued employment
     after July 1, 2009, and, being aware, that Plaintiff accepted the terms of Solutions by remaining
27   employed. Her refusal to acknowledge receipt of the information or to execute any agreement is
     immaterial to resolution of the pending motion.”) (emphasis added).
28
     Case No. 3:18-cv-00303-WHO                       -9-           DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                   SUPPORT OF MOTION TO TRANSFER VENUE
             Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 16 of 21


 1   Agreement covers “all disputes between them,” including without limitation those relating to employment
 2   or affiliation with the Firm. Dkt. 28-2 (Straky Decl.) ¶ 4; Exh. C, pg. 1, § 1. Therefore, “the parties’
 3   mutual promises to forego a judicial determination and to arbitrate their disputes provide consideration for
 4   each other.” Strotz v. Dean Witter Reynolds, Inc., 223 Cal. App. 3d 208, 216 (1990), overruled on other
 5   grounds by Rosenthal v. Great W. Fin. Sec. Corp., 14 Cal. 4th 394 (1996); accord Najd, 294 F.3d at 1108
 6   (employer’s promise to be bound by the arbitration process supplies adequate consideration); Oguejiofor
 7   v. Nissan, 2011 U.S. Dist. LEXIS 99180, at *8-9 (N.D. Cal. Sept. 2, 2011) (Chen, J.) (same). All of the
 8   requirements for a valid contract under California law have been met.
 9                   2.      The Agreement covers the claims here asserted.
10           A court addressing a motion to compel arbitration must decide as a gateway issue “whether
11   the agreement encompasses the dispute at issue.” Davis v. Nordstrom, Inc., 755 F.3d 1089, 1092 (9th
12   Cir. 2014) (citing Kilgore v. KeyBank, N.A., 718 F.3d 1052, 1057-58 (9th Cir. 2013) (en banc)). Here
13   it does. The Agreement explicitly requires “final and binding arbitration” of “all disputes between
14   [Knepper and Defendants Firm and shareholders], including without limitation those relating to
15   employment with the Firm or separation therefrom.” Dkt. 28-2 (Straky Decl.) ¶ 4, Exh. C, pg. 1
16   (emphasis added). Every count in the First Amended Complaint relates to employment with
17   Ogletree. Counts 1 through 6 address discrimination, inter alia, in compensation and/or promotion under
18   myriad federal and state statutes; count 7 alleges for breach of fiduciary duty arising from such alleged
19   discrimination; and counts 9 and 10 allege retaliation for exercising rights to object to such employment
20   discrimination. 1st Am. Compl. (Dkt. 33) ¶¶ 174-258 at pp. 30: 16 – 41:25. Where a dispute falls
21   within the scope of an agreement to arbitrate, the FAA requires the district court to direct the parties
22   to arbitration. Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985).
23                   3.      The Agreement is not unconscionable.
24                           a.      California’s unconscionability test.
25           Unconscionability is an affirmative defense to the enforcement of a contract. Graham v.
26   Scissor-Tail, Inc., 28 Cal. 3d 807, 820 (1981). “The party resisting arbitration bears the burden of
27   proving unconscionability.” Pinnacle Museum Tower Ass’n v. Pinnacle Mkt. Dev. (US), LLC, 55 Cal.
28   4th 223, 247 (2012); see also Rosenthal, 14 Cal. 4th at 413 (“If the party opposing the petition raises
     Case No. 3:18-cv-00303-WHO                        -10-           DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                     SUPPORT OF MOTION TO TRANSFER VENUE
             Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 17 of 21


 1   a defense to enforcement . . . that party bears the burden of producing evidence of, and proving by a
 2   preponderance of the evidence, any fact necessary to the defense.”).
 3           Unconscionability has both a substantive and a procedural element. An agreement to arbitrate
 4   is unenforceable only where both substantive and procedural unconscionability exist; it is not enough
 5   that one may exist without the other. See, e.g., Armendariz v. Found. Health Psychcare Servs., Inc.,
 6   24 Cal. 4th 83, 114 (2000) (both forms of unconscionability must be present to defeat contract
 7   formation). As the California Supreme Court reiterated, “The unconscionability inquiry is not a
 8   license for courts to impose their renditions of an ideal arbitral scheme.” Sonic-Calabasas A, Inc. v.
 9   Moreno, 57 Cal. 4th 1109, 1148 (2013). “[C]ourts may not decline to enforce an arbitration
10   agreement simply on the ground that it appears to be a bad bargain or that one party could have done
11   better.” Id. As shown below, the Agreement is neither procedurally nor substantively
12   unconscionable, and certainly not both.
13                           b.      The Agreement is not procedurally unconscionable.
14           The Ninth Circuit repeatedly has held that opt-out arbitration agreements have zero procedural
15   unconscionability, because the employee has the right to reject arbitration and retain his or her job. In
16   Circuit City Stores, Inc. v. Ahmed, 283 F.3d 1198 (9th Cir. 2002), Circuit City offered a predispute
17   arbitration program to Ahmed and other incumbent employees one month after he started working. The
18   employees were free to agree to arbitration or opt out of coverage. If Ahmed had decided to opt out, he
19   would have kept his job. Id. at 1199. Ahmed did not opt out, so he thereby became bound. When
20   Ahmed later asserted a claim for employment discrimination, Circuit City moved to compel arbitration.
21   The district court granted Circuit City’s motion, and the Ninth Circuit affirmed. The opt-out arbitration
22   agreement was a preprinted form, and its specific terms were nonnegotiable. That, however, was not the
23   point, the court explained. “[T]his case lacks the necessary element of procedural unconscionability”
24   because Ahmed was free to accept or reject the deal and still keep his job. Id.
25           Circuit City Stores, Inc. v. Najd, 294 F.3d 1104 (9th Cir. 2002), is identical. Najd, an incumbent
26   employee who did not opt out, contended that his arbitration agreement was unconscionable. “Najd’s
27   contention is foreclosed by our recent decision in . . . Ahmed,” the court held. Id. at 1108. The agreement
28   was a preprinted form, but it was “not . . . procedurally unconscionable” because Najd was free to reject it.
     Case No. 3:18-cv-00303-WHO                        -11-           DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                     SUPPORT OF MOTION TO TRANSFER VENUE
             Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 18 of 21


 1   Id. “Circuit City made clear that . . . [it] would have no effect on the employment relationship” if Najd
 2   chose not to make the deal. Id. at 1109.
 3           The Ninth Circuit en banc reaffirmed the rule in those cases in 2013. Kilgore v. KeyBank, N.A.,
 4   718 F.3d 1052, 1059 (9th Cir. 2013) (en banc) (citing Ahmed; the loan agreement at issue was not
 5   procedurally unconscionable because borrowers did not have to accept it and had a 60-day right to opt
 6   out). Most recently, in Mohamed v. Uber Techs., Inc., 848 F.3d 1201, 1211 (9th Cir. 2016), the court
 7   found no procedural unconscionability where there is a right to opt-out of arbitration. These cases are
 8   dispositive here. Knepper had her job with Ogletree and could have retained it even if she had opted out;
 9   she was totally free to accept or reject the Arbitration Agreement. Nor does any alleged failure by
10   Knepper to read the terms of the Agreement render it procedurally unconscionable. See Madden v.
11   Kaiser Found. Hosps., 17 Cal. 3d 699, 710 (1976).
12                          c.      The Agreement is not substantively unconscionable.
13           Even if (erroneously, in Ogletree’s view) the appropriate tribunal perceives some trace of
14   procedural unconscionability, the Agreement still is enforceable because there is no substantive
15   unconscionability. Armendariz held that, for an employment arbitration agreement to be enforceable,
16   it must meet certain “minimum requirements” to ensure that substantive rights afforded by statute are
17   not waived. Specifically, an arbitration agreement is enforceable if it provides for: (i) a neutral
18   arbitrator; (ii) a written decision subject to limited judicial review; (iii) payment by the employer of
19   all costs unique to arbitration; (iv) adequate discovery; and (v) recovery of all statutory remedies.
20   24 Cal. 4th at 90-91, 103-13. The Agreement meets all of those requirements.
21           First, the Agreement provides for a neutral arbitrator by incorporating the American
22   Arbitration Association’s (“AAA”) Employment Arbitration Rules (“EAR”). Dkt. 28-2 (Straky
23   Decl.), ¶ 4, Exh. C, pg. 1, § 3. See Defendants’ Request for Judicial Notice of AAA EAR, Rule 12(c)
24   (providing mechanism for parties to select neutral arbitrator by mutually striking potential arbitrators
25   from an AAA list). https://www.adr.org/sites/default/files/EmploymentRules_Web.pdf.
26           Second, the Agreement expressly provides that “[t]he arbitrator shall render a written award
27   setting forth his or her findings of fact and conclusions of law.” Dkt. 28-2, ¶ 4, Exh. C, pg. 2, § 7. See
28   also AAA EAR, Rule 39(c) mandating that awards consist of “the written reasons for the award.”
     Case No. 3:18-cv-00303-WHO                       -12-           DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                    SUPPORT OF MOTION TO TRANSFER VENUE
             Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 19 of 21


 1           Third, the Agreement expressly provides that Ogletree “will pay all costs unique to arbitration
 2   (as compared to the costs of adjudicating the same claims before a court . . .), including the regular
 3   and customary arbitration fees and expenses charged by AAA.” Dkt. 28-2, ¶ 4, Exh. C, pg. 1, § 5.
 4           Fourth, the Agreement permits Arbitration Plaintiffs to recover all otherwise-available
 5   remedies, by incorporating AAA EAR Rule 39(d) and further providing that “[t]he arbitrator shall
 6   have the same authority to order remedies to individual claimants as would a court of competent
 7   jurisdiction.” Dkt. 28-2, ¶ 4, Exh. C, pg. 1, § 6. Since “nothing in the language of the [Agreement]
 8   limits remedies,” “no limitation should be implied.” See Little v. Auto Stiegler, Inc., 29 Cal. 4th
 9   1064, 1075 n.1 (2003).
10           Fifth, the Agreement provides for adequate discovery. Armendariz requires that an arbitration
11   agreement provide for “discovery sufficient to adequately arbitrate . . . including access to essential
12   documents and witnesses, as determined by the arbitrator(s) and subject to limited judicial review.”
13   24 Cal. 4th at 106. Here, the Agreement contains no limitations on the methods of discovery
14   available to the parties, noting that “[t]he arbitrator shall have the authority to . . . compel the
15   production of documents during discovery.” Dkt. 28-2, ¶ 4, Exh. C, pg. 2, § 6. See also AAA EAR
16   Rule 9 (providing the arbitrator with broad authority to order discovery “as the arbitrator considers
17   necessary to a full and fair exploration of the issues in dispute.” The Agreement’s discovery rules
18   thus are fully consistent with Armendariz. See, e.g., Dotson v. Amgen, Inc., 181 Cal. App. 4th 975,
19   982-85 (2010) (reversing trial court and compelling arbitration; the agreement set forth limits on
20   discovery, but allowed the arbitrator to grant more on an appropriate showing of need).
21                           d.      The Agreement therefore is enforceable.
22           If the appropriate tribunal concludes, as it should, that at least one form of unconscionability
23   is wholly absent, the Agreement is enforceable without more. Alternatively, the Agreement should
24   be enforced even if (erroneously, in Ogletree’s view) the appropriate tribunal found both forms of
25   unconscionability to be present. The tribunal’s task “is not only to determine whether . . .
26   unconscionability exists, but more importantly, to what degree it may exist.” Morris v. Redwood
27   Empire Bancorp, 128 Cal. App. 4th 1305, 1319 (2005) (emphasis in original). Where there is
28   minimal procedural unconscionability, the party opposing arbitration must show a high level of
     Case No. 3:18-cv-00303-WHO                        -13-           DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                     SUPPORT OF MOTION TO TRANSFER VENUE
             Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 20 of 21


 1   substantive unconscionability (or vice versa). E.g., Serpa v. Cal. Sur. Investigations, Inc., 215 Cal.
 2   App. 4th 695, 704 (2013) (“When . . . the degree of procedural unconscionability of an adhesion
 3   agreement is low, . . . the agreement will be enforceable unless the degree of substantive
 4   unconscionability is high.’”) (citation omitted).
 5           The Agreement is not unconscionable at all, but even assuming otherwise arguendo, it should
 6   be enforced under California’s sliding-scale test.
 7                  4.      The class/collective-action waiver is enforceable.
 8           The Agreement expressly contains a class/collective-action waiver (collectively, “class-action
 9   waiver”). It excludes from arbitration “consolidat[ion] [of] the claims of other individuals into a
10   single proceeding,” “a class, collective action, or representative action,” and an award of relief “to a
11   class or group of claimants.” Dkt. 28-2 (Straky Decl.), ¶ 4, Exh. C, pg. 2, § 6.
12           The United States Supreme Court and California Supreme Court both have ruled that class
13   action waivers are enforceable and that federal law preempts any state law to the contrary. 5 See, e.g.,
14   Epic Sys. Corp. v. Lewis,138 S. Ct. 1612, 1619 (2018) (“In the [FAA], Congress has instructed
15   federal courts to enforce arbitration agreements according to their terms—including terms providing
16   for individualized proceedings.”).6
17
18
     5
       Whether this class-action waiver is enforceable is a gateway question of arbitrability for a court to
19   decide. See, e.g., Catamaran Corp. v. Towncrest Pharmacy, 864 F.3d 966, 971-73 (8th Cir. 2017)
     (Absent a clear and unmistakable delegation to the arbitrator, “the question of class arbitration
20   belongs with the courts as a substantive question of arbitrability.”; Chesapeake Appalachia, LLC v.
     Scout Petroleum, LLC, 809 F.3d 746, 754, 756, 758, 761 (3d Cir. 2016) (same).
21     The Ninth Circuit in Varela v. Lamps Plus, Inc., 701 F. App’x 670 (9th Cir. 2017), without
     discussion followed these cases, treating the class-action issue as a gateway question for the court.
22   The Supreme Court granted certiorari in Lamps Plus (No. 17-988), perhaps because the Court
     disagreed with the Ninth Circuit’s construction of the agreement to permit class actions. But the
23   grant of certiorari did not encompass whether the issue is a gateway question of arbitrability for a
     court to decide in the first instance.
     6
24     See also AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 352 (2011) (the FAA preempts any
     California public policy against class-action waivers, because state law cannot “stand[] as an
25   obstacle” to enforcing arbitration agreements “according to their terms”); Iskanian v. CLS Transp.
     L.A., LLC, 59 Cal. 4th 348, 366 (2014) (the “FAA preempts the Gentry rule.”); Sakkab v. Luxottica
26   Retail N. Am., Inc., 803 F.3d 425, 450 (9th Cir. 2015) (“A state may not insulate causes of action
     from arbitration by declaring that the purposes of the statute can only be satisfied via class,
27   representative, or collective action. If the rule conflicts with the objectives of the FAA, the state rule
     must give way.”).
28
     Case No. 3:18-cv-00303-WHO                       -14-          DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                   SUPPORT OF MOTION TO TRANSFER VENUE
             Case 3:18-cv-00304-WHO Document 54 Filed 08/29/18 Page 21 of 21


 1                  5.      Absent an appellate ruling to the contrary, the Agreement excludes the
 2                          PAGA claim from arbitration.
 3           It is true, of course, that under the current state of the law, a waiver of representative claims
 4   under the California Private Attorneys General Act (“PAGA”) is deemed unenforceable and not
 5   FAA-preempted. Iskanian, 59 Cal. 4th at 384, 388-89; Sakkab, 803 F.3d at 439. As such, the PAGA
 6   claim asserted as count 8 here is excluded at this time from coverage by the Agreement, which
 7   provides in Section 2 that “disputes and actions excluded from this Agreement are . . . claims for
 8   which this Agreement would be invalid as a matter of law.”7 The Court ruling on the petition to
 9   compel could reach the same result by applying the severability clause in Section 12 of the
10   Agreement to sever the PAGA claim (i.e., the words (“or representative action”) in Section 6 as a matter
11   of law and enforcing the remainder in full. Dkt. 28-2 (Straky Decl.), Exh. C, pg. 2, §6.8
12           The PAGA claim will remain stayed until arbitration is completed. 9 U.S.C. § 3; Alvarez v.
13   AutoZone, Inc., 2015 WL 13427751, at *2-3 (C.D. Cal. July 8, 2015) (staying PAGA claim pending
14   arbitration of individual claims circumvents simultaneous and duplicative litigation).
15   IV.     CONCLUSION
16           At the August 15 hearing, the Court indicated that “[i]f it looks like there is an agreement, I’m
17   going to send the case down to my fine colleagues in the Central District.” Dkt. 65 at 7:9-11.
18   Defendants have made the requisite showing. The motion to transfer should be granted.
19   DATED: August 29, 2018                   PAUL HASTINGS LLP
20                                            By: /s/ Nancy L. Abell
                                                  Nancy L. Abell
21                                                Attorneys for Defendants
                                                  OGLETREE, DEAKINS, NASH, SMOAK &
22                                                STEWART, P.C., CHARLES MATTHEW KEEN and
                                                  KIM FRANKLIN EBERT
23
24   7
       Defendants reserve the right to contend that the PAGA-representative-action waiver is in fact itself
     FAA-protected, if and when the U.S. Supreme Court overrules Iskanian and Sakkab. For now,
25   however, Ogletree recognizes that the court that rules on its petition to compel arbitration will apply
     the Iskanian/Sakkab rule.
26   8
       California law disfavors “throw[ing] the [arbitration] baby out with the bath water.” Bolter v.
     Superior Court, 87 Cal. App. 4th 900, 910 (2001). “[T]he strong legislative and judicial preference
27   is to sever the offending term and enforce the balance of the agreement . . . .” Roman v. Superior
     Court, 172 Cal. App. 4th 1462, 1477 (2009).
28
     Case No. 3:18-cv-00303-WHO                       -15-           DEFENDANTS’ SUPPLEMENTAL BRIEF IN
     Case No. 3:18-cv-00304-WHO                                    SUPPORT OF MOTION TO TRANSFER VENUE
